      Case 1:17-bk-12408-MB        Doc 44 Filed 09/15/17 Entered 09/15/17 13:04:24       Desc
                                    Main Document    Page 1 of 21


 11   RON BENDER (SBN 143364)
      MONICA Y. KIM (SBN 180139)
 22   KRIKOR J. MESHEFEJIAN (SBN 255030)
 33   LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
      10250 Constellation Boulevard, Suite 1700
 44   Los Angeles, California 90067
      Telephone: (310) 229-1234; Facsimile: (310) 229-1244
 55   Email: rb@lnbyb.com; myk@lnbyb.com; kjm@lnbyb.com
 66   Proposed Attorneys for Chapter 11 Debtors
 77   and Debtors in Possession

 88                             UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
 99                               SAN FERNANDO VALLEY DIVISION

10
10    In re:                                           Lead Case No.: 1:17-bk-12408-MB
                                                       Jointly administered with:
11
11    IRONCLAD PERFORMANCE WEAR                        1:17-bk-12409-MB
      CORPORATION, a California corporation,           Chapter 11 Cases
12
12
13
13            Debtor and Debtor in Possession.         NOTICE OF CHAPTER 11
      ____________________________________             BANKRUPTCY FILINGS AND OF
14
14    In re:                                           IMPORTANT UPCOMING HEARING
                                                       DATES AND DEADLINES
15
15    IRONCLAD PERFORMANCE WEAR
16    CORPORATION, a Nevada corporation,               [Chapter 11 Bankruptcy Filing Date –
16
                                                       September 8, 2017]
17
17             Debtor and Debtor in Possession.
      ____________________________________             Hearing Date, Time and Place of Initial
18
18                                                     Hearings:
         Affects both Debtors                          DATE:     September 13, 2017
19
19                                                     TIME:     2:00 p.m.
20      Affects Ironclad Performance Wear              PLACE: Courtroom “303”
20
      Corporation, a California corporation only                 21041 Burbank Blvd.
21
21                                                               Woodland Hills, CA
        Affects Ironclad Performance Wear
22
22    Corporation, a Nevada corporation only
23
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      Case 1:17-bk-12408-MB          Doc 44 Filed 09/15/17 Entered 09/15/17 13:04:24              Desc
                                      Main Document    Page 2 of 21


 11             TO ALL CREDITORS AND SHAREHOLDERS:

 22             PLEASE TAKE NOTICE that on September 8, 2017, Ironclad Performance Wear

 33   Corporation, a California corporation, and Ironclad Performance Wear Corporation, a Nevada

 44   corporation (collectively, the “Debtors”), the debtors and debtors-in-possession in the above-

 55   captioned Chapter 11 bankruptcy cases, filed voluntary petitions for relief under Chapter 11 of

 66   the Bankruptcy Code.

 77             PLEASE TAKE FURTHER NOTICE that an initial hearing was held before the Court on

 88   September 13, 2017, at 2:00 p.m., for the Court to consider approval of a number of motions

 99   filed by the Debtors. This Notice provides a summary of each of those motions and their current
10
10    status.
11
11                                    BID PROCEDURES MOTION
12
12              On September 8, 2017, prior to filing their Chapter 11 bankruptcy cases, the Debtors
13
13    entered into an Asset Purchase Agreement (the “APA”) with Radians Wareham Holding, Inc.
14
14    (“Purchaser” or “Radians”), pursuant to which Purchaser has agreed to purchase substantially all
15
15    of the Debtors’ assets (excluding cash and causes of action) for a purchase price of $20 million
16
16    or $15 million depending upon the outcome of a certain event which is the subject of a
17
17    confidential side letter which the Debtors are seeking to file with the Court under seal.
18
18              The Debtors’ proposed sale of assets to Purchaser is subject to overbid. An initial
19
19    hearing on the Debtors’ motion for approval of the bidding procedures that the Debtors and
20
20    Radians agreed to in the APA (the “Bidding Procedures Motion”) was held on September 13,
21
21    2017, at 2:00 p.m. The Court continued the hearing on the Bidding Procedures Motion to
22
22    September 25, 2017, at 2:00 p.m. Any party in interest who wishes to object to the Court’s
23
23    approval of the Bidding Procedures Motion must file a written objection with the Clerk of the
24
24    Court prior to the hearing on September 25, 2017, at 2:00 p.m. and appear at the hearing. The
25
25    Bidding Procedures Motion was filed with the Court on September 11, 2017, as Docket Number
26
26    10. A copy of the APA is attached as Exhibit “A” to the Declaration of Geoff Greulich filed
27
27    with the Court on September 11, 2017, as Docket Number 6.
28
28

                                                       2
      Case 1:17-bk-12408-MB         Doc 44 Filed 09/15/17 Entered 09/15/17 13:04:24                 Desc
                                     Main Document    Page 3 of 21


 11          The Court has preliminarily scheduled October 30, 2017, at 10:00 a.m., for the Court to

 22   consider approval of the Debtors’ sale of assets to Radians or a successful overbidder. The Court

 33   has also preliminarily scheduled October 30, 2017, at 10:00 a.m., as the date and time for an

 44   Auction to take place in the Court in the event that there is one or more qualified overbidder.

 55          As indicated, the Debtors’ proposed sale of assets to Purchaser is subject to overbid. In

 66   the Bidding Procedures Motion, the Debtors set forth the bidding procedures the Debtors are

 77   requesting the Court to approve (as agreed to between the Debtors and Purchaser in the APA) at

 88   the continued hearing on September 25, 2017, at 2:00 p.m.

 99          The following is a summary of the important provisions of the Bidding Procedures
10
10    Motion the Debtors are requesting the Court to approve at the continued hearing on September
11
11    25, 2017, at 2:00 p.m., including important information for any prospective overbidder (each an
12
12    “Overbidder” and collectively, the “Overbidders”) to know in order to be eligible to participate
13
13    in the Auction:
14
14           1.      As indicated, the Court has preliminarily scheduled October 30, 2017, at 10:00
15
15    a.m., as the hearing date and time for the Court to consider approval of the Debtors’ proposed
16
16    sale of the Purchased Assets to Purchaser or to a successful Overbidder as well as the date and
17
17    time of the Auction to take place in the event that there is one more qualified Overbidder.
18
18           2.      In accordance with Section 6.5 of the APA, the Debtors are requesting that the
19
19    following provisions shall apply in respect to any Auction and to any prospective Overbidder
20
20    becoming qualified to participate in the Auction:
21
21                   a. The initial bid over that submitted by Purchaser in the APA shall be in the
22
22                       amount of at least $20,750,000.00 if Purchaser’s Aggregate Purchase Price is
23
23                       Twenty Million Dollars ($20,000,000.00) and shall be in the amount of at
24
24                       least $15,750,000 if Purchaser’s Aggregate Purchase Price is Fifteen Million
25
25                       Dollars ($15,000,000.00).
26
26                   b. Thereafter, bidding shall be in increments of at least $250,000.00 or figures
27
27                       which are wholly divisible by $250,000.00.
28
28

                                                       3
      Case 1:17-bk-12408-MB     Doc 44 Filed 09/15/17 Entered 09/15/17 13:04:24                Desc
                                 Main Document    Page 4 of 21


 11              c. Only financially qualified parties will be eligible to participate in the Auction

 22                 – with financially qualified parties to mean parties who have demonstrated

 33                 that they have the financial means to consummate their purchase of the

 44                 Purchased Assets without financing unless the financing to be used by them is

 55                 already committed (meaning that any overbid may not contain any financing

 66                 contingency). Any party who participates in the Auction will have completed

 77                 their due diligence of the Debtors and will have no due diligence contingency.

 88              d. In order to be eligible to participate in the Auction, prospective overbidders

 99                 will be required at least three business days prior to the Auction (i.e., by 5:00
10
10                  p.m. PST on October 25, 2017) to (i) deliver a redlined version of the APA to
11
11                  counsel for the Debtors, counsel for Purchaser and counsel for any official
12
12                  committee formed in the Debtors’ bankruptcy cases indicating any changes
13
13                  the prospective overbidder is requesting to the APA, and (ii) submit a cash
14
14                  deposit of $2 million, which deposit will be non-refundable and forfeited by
15
15                  the prospective overbidder if the prospective overbidder is deemed by the
16
16                  Bankruptcy Court to be the winning bidder and fails to close its purchase of
17
17                  the Purchased Assets within 14 business days following the entry of the Sale
18
18                  Order approving the Debtors’ sale of the Purchased Assets to the prospective
19
19                  overbidder regardless of whether an appeal has been filed of such Sale Order
20
20                  provided there is no entered stay pending appeal - i.e., no final order
21
21                  requirement.
22
22               e. Purchaser will have the right, but not the obligation, to credit bid the
23
23                  outstanding balances of its Pre-Bankruptcy Secured Debt and the DIP Facility
24
24                  towards its purchase price and any overbid that Purchaser elects to submit.
25
25                  Purchaser shall have the right to participate in any Auction.
26
26               f. If any party other than Purchaser is deemed by the Bankruptcy Court to be the
27
27                  winning bidder at the Auction, then concurrently with the closing of the
28
28                  Debtors’ sale of the Purchased Assets to such winning bidder, Purchaser will

                                                  4
      Case 1:17-bk-12408-MB    Doc 44 Filed 09/15/17 Entered 09/15/17 13:04:24              Desc
                                Main Document    Page 5 of 21


 11                 be paid directly out of the sale proceeds (i) the full amount of the Pre-

 22                 Bankruptcy Secured Debt, plus (ii) the full amount of the DIP Facility, plus

 33                 (iii) the Breakup Fee.

 44              g. If any party other than Purchaser is deemed by the Bankruptcy Court to be the

 55                 winning bidder at the Auction, or if the Debtors elect to proceed with seeking

 66                 confirmation of a plan of reorganization instead of proceeding with a sale of

 77                 the Purchased Assets, Purchaser shall receive a break-up fee (the “Breakup-

 88                 Fee”) in the amount of $500,000.00.

 99              h. The Break-Up Fee shall be deemed to be an allowed expense of the kind
10
10                  specified in Section 503(b) of the Bankruptcy Code and shall be paid solely
11
11                  from the proceeds of an Alternative Transaction.
12
12               i. The Debtors shall have the right to schedule the Auction so that the payment
13
13                  of the Breakup-Fee to Radians will not be considered in determining the
14
14                  highest price bid for the Assets. However, Radians shall be authorized to
15
15                  match any qualified overbid and be declared the successful purchaser of the
16
16                  Purchased Assets giving consideration in the amount of the required Break-up
17
17                  Fee and Prepayment Fee as a component of its matching bid, which Break-up
18
18                  Fee and Prepayment Fee will not owing by the Debtors if Radians is the
19
19                  winning bidder.
20
20               j. If Radians is deemed by the Bankruptcy Court to be the winning bidder at the
21
21                  Auction and Radians fails to close its purchase of the Purchased Assets within
22
22                  14 business days following the entry of the Sale Order (regardless of whether
23
23                  an appeal has been filed of the Sale Order provided there is no entered stay
24
24                  pending appeal - i.e., no final order requirement), then Radians shall forfeit
25
25                  the Buyer Deposit to the Debtors.
26
26               k. The Debtors’ sale of the Purchased Assets to Radians or a successful
27
27                  overbidder will be free and clear of all liens, claims and interests in
28
28                  accordance with section 363(f) of the Bankruptcy Code.

                                                 5
      Case 1:17-bk-12408-MB         Doc 44 Filed 09/15/17 Entered 09/15/17 13:04:24               Desc
                                     Main Document    Page 6 of 21


 11                  l. The Debtors have the right to market the Purchased Assets for overbid

 22                     pending the Auction and to hire an investment banker or sales agent to assist

 33                     the Debtors in this process. However, the collateral of Radians shall not be

 44                     used to fund the engagement of an investment banker or sales agent with such

 55                     party only being entitled to compensation from the proceeds of the Closing.

 66                  m. If there are more than one qualified Overbidders, the Debtors shall have the

 77                     right to determine the manner in which the Auction will proceed.

 88                  n. The Court will resolve any disputes relating to the Auction.

 99                       DIP FINANCING/CASH COLLATERAL MOTION
10
10           On September 8, 2017, prior to filing their Chapter 11 bankruptcy cases, the Debtors
11
11    entered into a Debtor-In-Possession Credit Agreement and Agreement For The Use Of Cash
12
12    Collateral with Radians (the “DIP Financing/Cash Collateral Agreement”). An initial hearing on
13
13    the Debtors’ motion for approval of the DIP Financing/Cash Collateral Agreement (the “DIP
14
14    Financing/Cash Collateral Motion”) was held on September 13, 2017, at 2:00 p.m. The DIP
15
15    Financing/Cash Collateral Motion was filed with the Court on September 11, 2017, as Docket
16
16    Number 7. The Court granted the DIP Financing/Cash Collateral Motion on an interim basis at
17
17    the hearing held on September 13, 2017, at 2:00 p.m. The Court has scheduled a further interim
18
18    hearing on the DIP Financing/Cash Collateral Motion to be held on September 25, 2017, at 2:00
19
19    p.m., and the Court has scheduled a final hearing on the DIP Financing/Cash Collateral Motion
20
20    to be held on October 6, 2017, at 10:00 a.m.
21
21           Any party-in-interest objecting to the Court’s approval of the DIP Financing/Cash
22
22    Collateral Motion on a final basis shall serve and file written objections, which objections shall
23
23    be served upon (i) counsel to the Debtors, Levene, Neale, Bender, Yoo & Brill L.L.P., 10250
24
24    Constellation Blvd., Suite 1700, Los Angeles, California 90067, Attn: Ron Bender, Esq. (ii)
25
25    counsel to the Lender, Baker Donelson Bearman Caldwell & Berkowitz, PC, 165 Madison
26
26    Avenue, Suite 2000, Memphis, Tennessee 38103, Attn: E. Franklin Childress, Jr, Esq, and
27
27    Bryan Cave LLP, 120 Broadway, Suite 300, Santa Monica, California 90401, Attn Sharon Z.
28
28    Weiss, Esq. (iii) counsel to any committee of unsecured creditors appointed in the chapter 11

                                                      6
      Case 1:17-bk-12408-MB            Doc 44 Filed 09/15/17 Entered 09/15/17 13:04:24                       Desc
                                        Main Document    Page 7 of 21


 11   cases, (iv) the Office of the U.S. Trustee for the Central District of California, and (v) parties

 22   required by Bankruptcy Rule 2002(a) and shall be filed with the Clerk of the United States

 33   Bankruptcy Court, Central District of California, in each case to allow actual receipt by the

 44   foregoing no later than October 2, 2017 at 4:00 p.m., prevailing Pacific Standard time, and

 55   appear at the final hearing.

 66           The following is a summary of the principal terms of the DIP Financing/Cash Collateral

 77   Agreement1:

 88                   a.       DIP Loan:        The Debtors shall be authorized to obtain advances of the

 99           DIP Loan in an aggregate principal amount not to exceed $2,000,000 to (i) enable the
10
10            Debtors to pay those expenses set forth in the Initial Approved Budget, which may be
11
11            modified, supplemented and extended from time to time by additional budgets (covering
12
12            any time period covered by a prior budget or covering additional time periods) prepared by
13
13            the Debtors and approved by Radians, without subsequent notice to or order of the Court
14
14            (each such additional budget, a “Proposed Budget,” and together with the Initial Approved
15
15            Budget, the “Approved Budgets”), and to (ii) enable the Debtors to purchase inventory
16
16            which is not otherwise included in the Approved Budgets.
17
17                    b.       Advances for Budgeted Operating Expenses. On the day of entry of the
18
18            Interim Order (which occurred on September 13, 2017), Radians agrees to make an “Initial
19
19            Advance” of $500,000 to cover the Debtors’ funding requirements for the first two weeks
20
20            of the Initial Approved Budget. No further advances will be made until the entry of the
21
21            Final Order. Once that occurs, Radians will make further “Credit Advances” to the
22
22            Debtors pursuant to a “Borrowing Notice” which is to be submitted not later than noon
23
23            (eastern time) on the business day immediately prior to the “Funding Date.” Section 2.1(b)
24
24            sets for the information that is to be included in the Borrowing Notice including a
25
25
26
26
27
27        1
            The following is a summary of the principal terms of the DIP Financing/Cash Collateral Agreement. To the
      extent this summary is inconsistent with any of the terms of the DIP Financing/Cash Collateral Agreement, the
28
28    terms of the DIP Financing/Cash Collateral Agreement shall govern.


                                                            7
      Case 1:17-bk-12408-MB       Doc 44 Filed 09/15/17 Entered 09/15/17 13:04:24                 Desc
                                   Main Document    Page 8 of 21


 11        calculation of the amount requested which includes reasonable detail regarding the cash on

 22        hand and the projected disbursements for the borrowing period.

 33               c.      Approved Budgets: One Million Dollars ($1,000,000) of the DIP Loan

 44        may be used for the sole and primary purposes of paying expenses in accordance with the

 55        Initial Approved Budget, which depicts on a weekly basis cash revenue, receipts, expenses

 66        and disbursements and other information for the 9-week period following the Petition Date,

 77        and subsequent Approved Budgets, which shall be in form and substance acceptable to

 88        Radians. The Debtors shall be permitted to deviate from the Approved Budget, without the

 99        need for any further Court order, up to the permitted variance provided for in the DIP
10
10         Agreement (i.e., Debtors are allowed a cumulative variance of up to 10% per line item in
11
11         the Budget at any time, are further allowed to apply any unused amounts for any given
12
12         week to carry over to the following week’s expenditures in the Budget) (“Permitted
13
13         Variance”).
14
14                d.      Inventory Purchases. From and after the date of entry of the Interim Order,
15
15         an additional $1,000,000 of the DIP Loan shall be funded for additional purchases of
16
16         Inventory (as defined in the DIP Agreement) to enable the Debtors to purchase Inventory
17
17         which is not otherwise included in the Approved Budgets, and Radians has agreed to
18
18         provide the Debtors with Credit Advances of up to $300,000 for this purpose pending the
19
19         outcome of the Bidding Procedures Motion to be consider by the Court on September 25,
20
20         2017, at 2:00 p.m. as indicated above.       The advances shall be made pursuant to a
21
21         Borrowing Notice which is to be submitted not later than by noon prevailing eastern time
22
22         on the business day immediately prior to a Funding Date, which includes a calculation of
23
23         the requested advance amount, and reasonable detail of the Inventory to be purchased.
24
24                e.      Term and Interest on DIP Loan: The DIP Loan matures on January 1,
25
25         2018, but the obligations under the DIP Loan is due and payable upon the earlier to occur
26
26         of (a) date of the closing of the sale of substantially all assets to Radians, (b) January 1,
27
27         2018 maturity date, or (c) upon acceleration under the terms of the DIP Agreement. Rate
28
28         of interest to be charged for the DIP Loan shall be ten percent (10%) per annum, calculated

                                                    8
      Case 1:17-bk-12408-MB       Doc 44 Filed 09/15/17 Entered 09/15/17 13:04:24                Desc
                                   Main Document    Page 9 of 21


 11        on the basis of a 360-day year for actual days elapsed, and interest accrued upon default is

 22        eighteen percent (18%) per annum.

 33               f.      DIP Super-Priority Claim: In accordance with Bankruptcy Code section

 44        364(c)(1), Radians shall be granted the DIP Super-Priority Claim as security for the DIP

 55        Loan, which DIP Super-Priority Claim shall have priority over and above any and all

 66        administrative expenses and claims asserted against any Debtor or its respective

 77        bankruptcy estate, at any time existing or hereafter arising, of any kind or nature

 88        whatsoever, including, but not limited to the administrative expenses of the kinds specified

 99        in or ordered pursuant to Bankruptcy Code sections 105, 326, 327, 328, 330, 331, 361, 362,
10
10         363, 364, 365, 503, 506, 507(a), 507(b), 546, 552, 726, 1113, and 1114, and any other
11
11         provision of the Bankruptcy Code, whether or not such expenses or claims may become
12
12         secured by a judgment lien or other non-consensual lien, levy, or attachment.
13
13                g.      DIP Liens: As security for the DIP Loan, Radians shall be granted valid,
14
14         enforceable, non-avoidable, fully perfected and continuing second priority liens and
15
15         security interests (including liens pursuant to sections 364(c)(2) and 364(c)(3) of the
16
16         Bankruptcy Code) (referred to herein as the “DIP Liens”) on all of the “Collateral” (as
17
17         defined the DIP Agreement) and which includes all property of the Debtors, whether now
18
18         owned or hereafter acquired or existing and wherever located, of each Debtor and each
19
19         Debtor’s estate, of any kind or nature, whatsoever, whether the property is real, personal,
20
20         tangible, intangible, or mixed, whether now existing or hereafter acquired or created (but
21
21         excluding any pre-petition avoidance causes of action under 11 U.S.C. §§ 547 and 548,
22
22         collectively referred to herein as “Avoidance Actions” or claims against directors and
23
23         officers including insurance claims relating thereto), and all cash and non-cash proceeds,
24
24         rents, products, substitutions, accessions, and profits of any of the collateral described
25
25         above, with such DIP Liens to be junior only to (y) the pre-petition liens and security
26
26         interests of Radians, and (z) “Permitted Liens” as defined in the DIP Agreement, to secure
27
27         all obligations of the Debtors under and with respect to the DIP Loan.
28
28

                                                    9
      Case 1:17-bk-12408-MB          Doc 44 Filed 09/15/17 Entered 09/15/17 13:04:24                  Desc
                                     Main Document    Page 10 of 21


 11                  h.      Acknowledgements of Pre-Petition Loans. The Debtors acknowledge

 22          that they are indebted to Radians under the Pre-Petition Loan Documents involving the

 33          Revolving Loan, and that the pre-petition liens and security interests of Radians in all of the

 44          Debtors’ property and assets are valid and enforceable.

 55                  i.      Events of Default and Remedies; Milestones: Article X sets forth the

 66          various Events of Default, which include the Debtors’ failure to meet certain milestones

 77          relating to the sale of substantially all of their assets to Radians or a successful overbidder,

 88          including, without limitations, the deadlines by which the Debtors must file their motions

 99          for authority to sell their assets to Radians under the terms of the parties’ asset purchase
10
10           agreement and for approval of the proposed bidding procedures, deadlines by which the
11
11           Debtors must obtain orders pertaining to such motions, and the deadline by which the
12
12           Debtors must close a sale of substantially all of their assets and pay their obligations to
13
13           Radians if Radians is not the successful buyer. Article X also sets forth requirements
14
14           pertaining to the giving of a Notice of Default by Radians, and the procedure by which the
15
15           Debtors may dispute whether an Event of Default has occurred.
16
16                   j.      Release: Section 11.12 of the DIP Agreement provides for the Debtors to
17
17           release all claims against Radians arising out of or in an way relating to the DIP Agreement
18
18           and documents relating thereto occurring on or prior to the date of the DIP Agreement.
19
19           In addition to the foregoing, in connection with the final hearing on the DIP
20
20    Financing/Cash Collateral Motion to be held on October 6, 2017, at 10:00 a.m., Radians will be
21
21    seeking the following additional relief:
22
22           1.      On or before the date that is forty five (45) days from the date of the entry of the
23
23    notice of appointment of the official committee of unsecured creditors or such other official
24
24    committee as may be appointed in these Chapter 11 cases (the “Committee”), the Committee or
25
25    any other party with standing to make any Challenge (defined below) may object to, challenge, or
26
26    seek to avoid the amount, validity, or enforceability of the Pre-Bankruptcy Secured Debt (or any
27
27    portion thereof) or any of liens and security interests created under the Pre-Bankruptcy Secured
28
28    Debt (separately and collectively, a “Challenge”) (the “Lookback Period”). If no such action,

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      Case 1:17-bk-12408-MB            Doc 44 Filed 09/15/17 Entered 09/15/17 13:04:24                Desc
                                       Main Document    Page 11 of 21


 11   objection or other Challenge is commenced by a Committee (or any other party with standing)

 22   within the Lookback Period, the Pre-Bankruptcy Secured Debt will be deemed and adjudicated

 33   finally and indefeasibly as valid and enforceable, the liens and security interests created under the

 44   Pre-Bankruptcy Secured Debt in the Collateral securing the Pre-Bankruptcy Secured Debt will be

 55   deemed and adjudicated finally and indefeasibly as valid, enforceable and perfected liens and

 66   security interests in that Collateral, and any affirmative claim(s) or cause(s) of action of any kind

 77   against Radians with respect to the Pre-Bankruptcy Secured Debt and the liens and security

 88   interests securing the Pre-Bankruptcy Secured Debt, or any payment received by Radians will be

 99   forever barred.
10
10           2.         The Debtors have waived and released, and shall be forever barred from asserting,
11
11    any right to object to, challenge or seek to avoid, the amount, validity, or enforceability of the Pre-
12
12    Bankruptcy Secured Debt or the liens and security interests in the Collateral securing the Pre-
13
13    Bankruptcy Secured Debt.
14
14           3.         Subject to further order of the Court and the Challenge provisions set forth in the
15
15    above, in the event any payment made to, or other amount or value received by Radians from or
16
16    for the account of either of the Debtors is avoided, rescinded, set aside or must otherwise be
17
17    returned or repaid by Radians, whether in these Chapter 11 cases or any other proceedings, the
18
18    indebtedness intended to be repaid thereby shall be reinstated (without any further action by any
19
19    party or the Court) and shall be enforceable against the Debtors, the Debtors’ estates in these
20
20    Chapter 11 cases, and the Debtors’ successors or assigns. In such event, the Debtors shall be and
21
21    remain liable to Radians for the amount so repaid or recovered to the same extent as if such amount
22
22    had never originally been received by Radians, with interest accruing thereon from and after the
23
23    date such amount is so repaid or recovered, and any of Radians’ claims, liens, rights, and remedies
24
24    under the Pre-Petition Loan Documents which survive such action shall be reinstated and fully
25
25    preserved, including, to the extent necessary to protect Radians’ interests.
26
26                                      FILE UNDER SEAL MOTION
27
27           On September 8, 2017, prior to filing their Chapter 11 bankruptcy cases, and in
28
28    connection with entering into the APA with Radians, the Debtors also entered into a side letter

                                                        11
      Case 1:17-bk-12408-MB         Doc 44 Filed 09/15/17 Entered 09/15/17 13:04:24                Desc
                                    Main Document    Page 12 of 21


 11   agreement with Radians which has been filed with the Court under seal. An initial hearing on

 22   the Debtors’ motion for approval to file the side letter agreement under seal was held on

 33   September 13, 2017, at 2:00 p.m. The Debtors’ motion for approval to file the side letter

 44   agreement under seal was filed with the Court on September 11, 2017, as Docket Number 11. At

 55   the hearing held on September 13, 2017, at 2:00 p.m., the Court granted the Debtors’ motion for

 66   approval to file the side letter agreement under seal on a preliminary basis and continued the

 77   hearing to a final hearing to be held on October 30, 2017, at 10:00 a.m. Any party in interest

 88   who wishes to object to the Court’s final approval of the Debtors’ motion for approval to file the

 99   side letter agreement under seal must file a written objection with the Clerk of the Court prior to
10
10    the final hearing on October 30, 2017, at 10:00 a.m. and appear at the hearing.
11
11    Dated: September 15, 2017                    IRONCLAD PERFORAMNCE WEAR
12
12                                                 CORPORATION, et al.

13
13                                                 By:     /s/ Ron Bender
                                                           RON BENDER
14
14                                                         MONICA Y. KIM
                                                           KRIKOR J. MESHEFEJIAN
15
15
                                                           LEVENE, NEALE, BENDER,
16
16                                                         YOO & BRILL L.L.P.
                                                           Proposed Attorneys for Debtors and
17
17                                                         Debtors in Possession
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Case 1:17-bk-12408-MB                Doc 44 Filed 09/15/17 Entered 09/15/17 13:04:24                                      Desc
                                     Main Document    Page 13 of 21

 1
                                   PROOF OF SERVICE OF DOCUMENT
 2
     I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
     address is: 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067
 3
     A true and correct copy of the foregoing document entitled NOTICE OF CHAPTER 11 BANKRUPTCY
 4   FILINGS AND OF IMPORTANT UPCOMING HEARING DATES AND DEADLINES will be served or
     was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
 5   the manner stated below:
 6   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
     controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
 7   hyperlink to the document. On September 15, 2017, I checked the CM/ECF docket for this bankruptcy
     case or adversary proceeding and determined that the following persons are on the Electronic Mail
 8   Notice List to receive NEF transmission at the email addresses stated below:

 9            Ron Bender rb@lnbyb.com
              Monica Y Kim myk@lnbrb.com, myk@ecf.inforuptcy.com
10            Krikor J Meshefejian kjm@lnbrb.com
              S Margaux Ross margaux.ross@usdoj.gov
11            United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
              Sharon Z. Weiss sharon.weiss@bryancave.com, raul.morales@bryancave.com
12
     2. SERVED BY UNITED STATES MAIL: On September 15, 2017, I served the following persons
13   and/or entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a
     true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid,
14   and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
     completed no later than 24 hours after the document is filed.
15
                                                                             Service information continued on attached page
16
17   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
     EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
18   on September 15, 2017, I served the following persons and/or entities by personal delivery, overnight
     mail service, or (for those who consented in writing to such service method), by facsimile transmission
19   and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or
     overnight mail to, the judge will be completed no later than 24 hours after the document is filed.
20
     Served via Attorney Service
21   Hon. Martin R. Barash
     United States Bankruptcy Court
22   21041 Burbank Boulevard, Suite 342
     Woodland Hills, CA 91367
23
                                                                              Service List served by Overnight Mail attached
24
     I declare under penalty of perjury under the laws of the United States of America that the foregoing is
25   true and correct.

26    September 15, 2017                    Stephanie Reichert                          /s/ Stephanie Reichert
      Date                                  Type Name                                   Signature
27
28

      This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

     June 2012                                                                    F 9013-3.1.PROOF.SERVICE
         Case 1:17-bk-12408-MB      Doc 44 Filed 09/15/17 Entered 09/15/17 13:04:24              Desc
                                    Main Document    Page 14 of 21
Ironclad Performance Wear (8300)      United States Trustee                  U. S. Securities and Exchange Commission
MML (consolidated)                    915 Wilshire Blvd., Suite 1850         Attn: Bankruptcy Counsel
                                      Los Angeles, California 90017          444 South Flower Street, Suite 900
                                                                             Los Angeles, CA 90071-9591



Secured Creditor                      Counsel to Radians Wareham Holdings    Counsel to Radians Wareham Holdings
Radians Wareham Holding, Inc.         E. Franklin Childress, Jr.             Sharon Z. Weiss
Attn: Mike Tutor, CEO                 Baker, Donelson, Bearman, Caldwell &   Bryan Cave
5305 Distriplex Farms                 Berkowitz, PC                          120 Broadway, Suite 300
Memphis, TN 38141                     165 Madison Ave, Suite 2000            Santa Monica, CA 90401
                                      Memphis, Tennessee 38103

Advantage Media Services, Inc.        Mercindo Global Manufaktur             Nantong Changbang Gloves Co.
Attn: Steven Helmle                   Attn: Danny Negara                     Attn: Eliza Yang
29010 Commerce Center Drive           Jl. Raya Semarang-Bawen Km.29          Flat/RM 1602 Chit Lee Comm
Valencia, CA 91355                    SEemerang, Central Java                Bldg 30-36, Shau Kei Wan Road
                                      50661, Indonesia                       Hong Kong, China


BDO USA, LLP                          PT JJ GLOVES INDO                      PT SPORT GLOVE INDONESIA
Attn: Gerard                          Attn: Kwong                            Attn: Mark Robba
P. O. BOX 677973                      JL Ronggowarsito, Mlese, Ceper         Krandon Desa Pandowoharjo Sleman
Dallas, TX 75267-7973                 Bonded Zone, Klaten                    Yogyakarta, Indonesia, 55512
                                      Central Java, Indonesia, 57463


Capital One Bank                      Resources Global Professionals         Skadden Arps Slate Meagher & Flom LLP
Attn: Daniel Gomes                    Attn: Brent Waters                     P O Box 1764
P. O. BOX 1917                        P.O. Box 740909                        White Plains, NY 10602
Merrifield, VA 22116-1917             Los Angeles, CA 90074-0909



FedEx                                 Risk Consulting Partners               Stubbs, Alderton & Markiles, LLP
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PO Box 7221                           Chicago, IL 60673-1247                 15260 Ventura Blvd
Pasadena, CA 91109-7321                                                      20th Floor
                                                                             Sherman Oaks, CA 91403


Ka Hung Glove Inustrial Co. Ltd.      Shur-Sales & Marketing, Inc.           Synetra
Attn: Ms. Vicz Yue                    3830 S Windermere St.                  Attn: John Calhoun
Fujian Quanzhou Jiacheng Leather      Englewood, CO 80110                    1110 E. State Highway 114
Chi Feng Road, Quanzhou City                                                 Suite 200
Fujian, 362000, China                                                        Southlake, TX 76092


Marusan - Mimasu Tshusho Co. Ltd.     University of Milwaukee                Winspeed Sports Shanghai Co., Ltd.
Attn: Sky Lin                         Attn: Carla Durand                     Attn: Bradley J. S. Weiss
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Hong Kong                             University of Wisconsin - Milwaukee    Shanghai
China                                 Milwaukee, WI 53201                    China, 00020-1702


Woneel Midas Leathers                 Yellow and Roadway                     1920 Hutton Court
Attn: Janice Lee                      Attn: Liliana Dominguez                Attn: Johnny Clark
Jl Gembor Raya Desa Pasirjaya         P. O. Box 100129                       Inwood National Bank
Tangerang                             Pasadena, CA 91355                     P O Box 857413
Banten, Indonesia, 15135                                                     Richardson, TX 75085


Account Temps                         BIC ALLIANCE                           Amster, Rothstein & Ebenstein, LLP
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Los Angeles, CA 90074-3295            Baton Rouge, LA 70835                  New York, NY 10016
         Case 1:17-bk-12408-MB            Doc 44 Filed 09/15/17 Entered 09/15/17 13:04:24              Desc
                                          Main Document    Page 15 of 21
Broadridge                                  Business Systems Integrators, LLC    BNSF
P.O. Box 416423                             P O Box 495                          75 Remittance Dr. Ste. 1748
Boston, MA 02241-6423                       Lawson, MO 64062                     Chicago, IL 60675-1748




Commerce Technologies, Inc.                 Daylight Transport                   DESIGN GALLERY (PVT.) LTD.
25736 Network Place                         P O Box 93155                        PLOT #322/B, MEDICAL ROAD
Chicago, IL 60673-1257                      Long Beach, CA 90809                 HELAL MARKET, UTTARKHAN
                                                                                 DHAKA-1230, Bangladesh,



DESUN GARMENTS, LTD.                        Dival Safety & Supplies              DRG Strategic, LLC - Bob Goldstein
89/1, Birulia Road, Savar, Dhaka            1721 Niagra Street                   P O BOX 191981
Dhaka                                       Buffalo, NY 14207                    Dallas, TX 75219
Savar-1340, Bangladesh,



Expeditors                                  Office Depot                         Ginger Hill
5757 W. Century Blvd. Ste. 200              PO Box 78004                         6524 Deseo Apt. 358
Los Angeles, CA 90045                       Dept 56 - 8302627096                 Irving, TX 75039
                                            Phoenix, AZ 85062-8004




nChannel, Inc.                              Pacific Stock Transfer Company       National Safety Council
8760 Orion Place, Ste 210                   6725 Via Austi Pkwy                  P.O. Box 558
Columbus, OH 43240                          Suite 300                            Itasca, IL 60143
                                            Las Vegas, NV 89119




Perry HVAC                                  Precision Testing Laboratories       Office Depot Acct 31A
10000 North Central Expressway              POB 100268                           P.O. Box 88040
Suite 400                                   Nashville, TN 37224                  Chicago, IL 60680-1040
Dallas, TX 75231



Safeco Building Maintenance                 Superior Printing, Inc.              Pitney Bowes Credit Corp.
5013 Brandenburg Lane                       P O Box 844550                       P.O.Box 371887
The Colony, TX 75056                        Los Angeles, CA 90084-4550           Pittsburg, PA 15250-7887




SPRING HILL INC                             TRI/AUSTIN, INC                      PT SEOK HWA INDONESIA
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South El Monte, CA 91733                    DALLAS, TX 75063                     5442-1 Sang Dae Won-Dong, Sung Nam
                                                                                 Kyung Gi-Do, Indonesia, 00046-2819



Citibank                                    Three Part Advisors, LLC             Atmos Energy Corporation
P.O. Box 790034                             P O Box 92698                        Attn: Kim R. Cocklin, CEO
St. Louis, MO 63179-0034                    Southlake, TX 76092                  Three Lincoln Centre, Suite 1800
                                                                                 5430 LBJ Freeway
                                                                                 Dallas, TX 75240


Republic Services                           Windstream                           Tyco Integrated Security, LLC
Attn: Donald W. Slager, President & CEO     Attn: Tony Thomas, President & CEO   Attn: Joe Oliveri, General Manager
18500 North Allied Way                      4001 North Rodney Parham Road        Boca Corporate Center
Phoenix, AZ 85054                           Little Rock, Arkansas 72212          4700 Exchange Court, Suite 300
                                                                                 Boca Raton, FL 33431
          Case 1:17-bk-12408-MB    Doc 44 Filed 09/15/17 Entered 09/15/17 13:04:24   Desc
                                   Main Document    Page 16 of 21
TXU Energy
Attn: Scott A. Hudson, President
6555 Sierra Drive
Irving, TX 75039
            Case 1:17-bk-12408-MB            Doc 44 Filed 09/15/17 Entered 09/15/17 13:04:24               Desc
                                             Main Document    Page 17 of 21
Ironclad Performance Wear (8300)             THE ELLEN IDELSON TRUST DATED        ETHAN AISENBERG
Equity Holders                               MARCH 20 2003                        3900 LEGACY TRAIL CIR
                                             710 BROOKTREE ROAD                   CARROLLTON, TX 75010
                                             PACIFIC PALISADES, CA 90272



WILLIAM AISENBERG                            Greg Akselrud                        GREGORY AKSELRUD
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CARROLLTON, TX 75010                         15260 Ventura Blvd 20th Fl.          20TH FL
                                             Sherman Oaks, CA 91403               SHERMAN OAKS, CA 91403



SCOTT ALDERTON                               ELI ARRIV                            BARBARA ASHTON
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CHATSWORTH, CA 91311                         AGOURA, CA 91301                     CLOVIS, CA 93619




RYAN AZLEIN                                  B.A.T.B. LLC                         NATASHA H BEN
1137 Calle Elaina                            5750 SOUTH BEECH CT                  104 Saratoga Drive
Thousand Oaks, CA 91630                      GREENWOOD VILLAGE, CO 80121          Belle Chasse, LA 70037




R D PETE BLOOMER                             RONALD D BLOOMER                     WILLIAM L BOETTCHER
7542 CRESTVIEW DRIVE                         7542 CRESTVIEW DR                    727 HAYS CIR
LONGMONT, CO 80504                           NIWOT, CO 80504                      LONGMONT, CO 80501




Hubert L Brown & Annabelle Brown Fowlkes     TARBY BRYANT                         MCDERMOTT & BULL
& Quintard P Courtney Iii Trustees           4 HAWTHORNE CIR                      2 VENTURE
U/A Dtd 12-07-07                             SANTA FE, NM 87506                   SUITE 100
H L Brown Jr Charitable Lead Annuity Trust                                        IRVINE, CA 92618
P.O. Box 2237
Midland, TX 79702

CHERYL WASHINGTON                            ROBERT C CLARK                       VANE CLAYTON
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STE 300                                      WHEEATRIDGE, CO 80033                LAFAYETTE, CO 80026
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CLAYTON WYOMING LLC                          DAVID J COOK                         JEFFREY D CORDES
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LAFAYETTE, CO 80026                          PMB 071156                           SOUTHLAKE, TX 76092
                                             LAREDO, TX 78045



Kevin Debre                                  MELISSA DERBY                        Michael Anthony Digregorio Trustee
C/O Stubbs Alderton & Markiles LLP           393 LAUREL AVENUE                    U/A Dtd 03-31-00
15260 Venrua Blvd 20th Fl                    NOVATO, CA 94945                     The Digregorio Revocable Trust
Sherman Oaks, CA 91403                                                            1420 Kingsboro Ct
                                                                                  Westlake Village, CA 91362


GLEN K INGALLS & RENEE PACHECO               JEFFREY F GERSH & ARIE J GERSH       STEVEN C EARNSHAW
TTEES U/A DTD                                LIVING TRUST DTD                     5679 POLAR WAY
4-5-05 THE INGALLS PACHECO 2005              09/26/1991                           PARK CITY, UT 84098
TRUST                                        5465 ROUND MEADOW RD
747 ROSEMOUNT RD                             HIDDEN HILLS, CA 91302
OAKLAND, CA 94610
            Case 1:17-bk-12408-MB        Doc 44 Filed 09/15/17 Entered 09/15/17 13:04:24        Desc
                                         Main Document    Page 18 of 21
KYLE EDLUND                              REYHEENA EIDARIUS                 DONALD P ELLIOTT
3893 FAIRWAY DR                          23436 CAMINITO VALLE              9400 E ILIFF AVE
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                                                                           DENVER, CO 80231



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                                                                           Malibu, CA 90265


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CHICAGO, IL 60618



SCOTT GALER                              BROCK GANELES                     KONRAD GATIEN
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15260 VENTURA BLVD 20TH FL               APT 14A                           20TH FLOOR
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LOS ANGELES, CA 90024



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MICHAEL CASEY HOCH                       JONATHAN HODES                    RHONDA HOFFARTH
291 BROADWAY                             C/O STUBBS ALDERTON & MARKILES    462 CALLE DE ARAGON
COSTA MESA, CA 92627                     15620 VENTURA BLVD 20TH FL        REDONDO BEACH, CA 90277
                                         SHERMANOAKS, CA 91403



Emil Iannaccone Ttee Ua Dtd 9/16/2010    ENSCO INC                         DAVID L JACOBS
Emil Iannaccone Seperate Propert Trust   3110 FAIRVIEW PARK DR STE 300     335 LEE HILL DRIVE
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Granada Hills, CA 91344
            Case 1:17-bk-12408-MB       Doc 44 Filed 09/15/17 Entered 09/15/17 13:04:24               Desc
                                        Main Document    Page 19 of 21
EDUARD ALBERT JAEGER                    ERIC JAEGER                                 HEIDI JAEGER
443 CONCORD ST                          1408 CAMBRIDGE CROSSING                     26800 PACIFIC COAST HWY
EL SEGUNDO, CA 90245                    SOUTHLAKE, TX 76092                         MALIBY, CA 90265




JARUS FAMILY TRUST                      JARUS FAMILY TRUST TR SCOTT M               JARUS FAMILY TRUST U/A DTD
938 DUNCAN AVE                          JARUS TTEE                                  10/19/2007
MANHATTAN BEACH, CA 90266               REBECCA                                     938 DUNCAN AVE
                                        D JARUS TTEE U/A DTD 10/19/2007             MANHATTAN BEACH, CA 90266
                                        938 DUCAN AVE
                                        MANHATTAN BEACH, CA 90266

Rebecca D Jarus & Scott M Jarus Ttees   Joanna Waldear-Lucas As Ttee                MICHAEL B JOHNSON
U/A Dtd 10/19/2007                      Fbo The Joanna Waldear-Lucas Living Trust   7255 RADFORD AVE
Jarus Family Family Trust               Dtd 4-12-06                                 N HOLLYWOOD, CA 91605
938 Ducan Ave                           P.O. Box 101
Manhattan Beach, CA 90266-6626          Malibu, CA 90265


CHARLES E FRISCO JR                     CHARLES E FRISCO JR                         ROBERT F CHARLES JR
12749 Norwalk Blvd. Ste 100             8135 FLORENCE AVENUE                        2955 PARK LAKE DR
Norwalk, CA 90650                       SUITE 101                                   BOULDER, CO 80301
                                        DOWNEY, CA 90240



STANLEY M RUMBOUGH JR                   CHRIS JUETTEN                               MATTHEW JUETTEN
44 COCOANUT ROW STE B103                2906 NW ENDICOTT ST                         633 HAWKSBILL ISLAND DR
PALM BEACH, FL 33480                    CAMAS, WA 98607                             SATELLITE BEACH, FL 32937




PATRICK JUETTEN                         ANTHONY KEATS                               THOMAS KENDALL
11417 HASTINGS ST NE                    15260 VENTURA BLVD                          1112 MONTANA AVENUE # 716
BLAINE, MN 55449                        20TH FLOOR                                  SANTA MONICA, CA 90403
                                        SHERMAN OAKS, CA 91403



BRUCE G KLASS                           MATTHEW LAUBERT                             KNUTE LEE
447 KENSINGTON DR                       C/O IRONCLAD PERFORMANCE WEAR               9109 WILSHIRE COURT NE
CORDILERA, CO 81632                     CORP                                        ALBUQUERQUE, NM 87122
                                        1920 HUTTON COURT #300
                                        FARMERS BRANCH, TX 75234


JAEGER FAMILY LLC                       GREAT PANDA INVESTMENT CO LLLP              SEAMARK FUND LP
1408 CAMBRIDGE CROSSING                 1325 PITKIN AVE                             223 WILMINGTON W CHESTER PIKE
SOUTHLAKE, TX 76092                     SUPERIOR, CO 80027                          #115
                                                                                    CHADDS FORD, PA 19317



KLEIN PARTNERS LTD                      FAMILY TRUST OF EARL G LUNCEFORD            MURRAY MARKILES
4973 CLUBHOUSE CT                       8850 E FERNAN LAKE RD                       C/O STUBBS ALDERTON & MARKILES
BOULDER, CO 80301                       COEUR DALENE, ID 83814                      15260 VENTURA BLVD 20TH FLOOR
                                                                                    SHERMAN OAKS, CA 91403



THOMAS W. MASON                         CINDY MATTHEWS                              JOHN MCILVERY
6856 WISH AVENUE                        6725 WHALEY DR                              C/O STUBBS ALDERTON & MARKILES
LAKE BALBOA, CA 91406                   BOULDER, CO 80303                           15260 VENTURA BLVD 20TH FL
                                                                                    SHERMAN OAKS, CA 91403
          Case 1:17-bk-12408-MB   Doc 44 Filed 09/15/17 Entered 09/15/17 13:04:24           Desc
                                  Main Document    Page 20 of 21
RONALD S WEAVER MD                WILLIAM MECK                         ROBERT MEOTTLE
536 PALISADES AVENUE              11027 LIMERICK AVENUE                27909 SMYTH DR
SANTA MONICA, CA 90402            CHATSWORTH, CA 91311                 VALENCIA, CA 91355




MICHAEL A DIGREGORIO              PATRICK W O'BRIEN                    JEFFREY ORR
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WESTLAKE VILLAGE, CA 91362        LAKE FOREST, IL 60045                MERMOSA BEACH, CA 90254




TAMALPAIS PARTNERS                MARC S PESTER                        ALL IN THE BEHL FAMILY RLLP
24 TAMALPAIS AVE                  278 DALE RD                          37271 S STONEY CLIFF DR
MILL VALLEY, CA 94941             SHORT HILLS, NJ 07078                TUCSON, AZ 85739




JOSEPH D RYAN                     MIKE SALOMON                         HAROLD F SCHAFF
1986 CLOVERDALE AVE               1440 E 1st Street Ste. 100           780 GLEN ANNIE RD
HIGHLAND PARK, IL 60035           SANTA ANA, CA 92701                  GOLETA, CA 93114




CATHERINE A SEAK                  PETER SEAMANS                        JAMES SEIBEL
1643 OAKPOINT DR                  1360 WALNUT ST                       1430 N HARPER AVE
WACONIA, MN 55387                 #205                                 #305
                                  BOULDER, CO 80302                    W HOLLYWOOD, CA 90046



BRIAN SHEENY                      SPM CENTER LLC                       KEALA STANFILL
11711 DARLINGTON AVE UNIT 7       27909 SMYTH DR                       12049 SW ASKER TERR
LOS ANGELES, CA 90049             VALENCIA, CA 91355                   BEAVERTON, OR 97007




VALORIE STANSBERRY                STUBBS ALDERTON & MARKILES LLP       V JOSEPH STUBBS
3227 N RICHMOND                   15260 VENTURA BLVD                   C/O STUBBS ALDERTON & MARKILES
CHICAGO, IL 60618                 26TH FL                              15260 VENTURA BLVD 20TH FL
                                  SHERMAN OAKS, CA 91403               SHERMAN OAKS, CA 91403



PAMELA SULLIVAN                   EDWIN BALDRIDGE TTEE UA DTD          HORACE DUNBAR HOSKINS JR &
1682 HAYES STREET APT C           10/30/1992 EDWIN T                   ANN REID HOSKINS JT TEN
EUGENE, OR 97402                  BALDRIDGE DECLARATION TRUST          7 PENENSULA RD
                                  605 SAN ANTONIA AVE                  BELVEDERE, CA 94920
                                  MANY LA, LA 71449


JOHN E ORCUTT & MARCIA ORCUTT     ROBERT H KEELEY & SANDRA KEELEY      THOMAS W. MASON & LISA L. MASON
JT TEN                            JT TEN                               JT TEN
3221 N SAN SEBASTIAN DRIVE        PO BOX 240                           6856 WISH AVENUE
TUSCON, AZ 85715                  HILLSIDE, CO 81232                   LAKE BALBOA, CA 91406



WILLIAM MECK & TERESA MECK        HAROLD SCHAFF & CHERYL SCHAFF        DENNIS TORRES & AVERI TORRES
JT TEN                            TTEES THE SCHAFF TRUST DTD 1-17-03   6779 LAS OLAS WAY
11027 LIMERICK AVENUE             780 GLEN ANNIE RD                    MALIBU, CA 90265
CHATSWORTH, CA 91311              GOLETA, CA 93114
           Case 1:17-bk-12408-MB   Doc 44 Filed 09/15/17 Entered 09/15/17 13:04:24         Desc
                                   Main Document    Page 21 of 21
STEVEN W TOWN                      BIRCH FAMILY TRUST                DENNIS TORRES & AVERI TORRES
6301 E CRESTLINE AVE               1435 OLIVE ST                     TRUST
GREENWOOD VILLAGE, CO 80111        SANTA BARBARA, CA 93101           6779 LAS OLAS WAY
                                                                     MAILBU, CA 90265



KATHERINE BERCI DEFEVERE           RICHARD KRONMAN & MAUREEN         SEGAL FAMILY TRUST
TRUSTEE DEFEVERE TRUST             KRONMAN REVOCABLE TRUST           10100 SANTA MONICA BLVD #1300
UAD 9/28/98                        DTD 2/28/02                       LOS ANGELES, CA 90067
24200 ALBERS STREET                30111 HARVESTER RD
WOODLAND HILLS, CA 91367           MAILBU, CA 90265


THE ORCUTT FAMILY TRUST            THE SASSOLA III FAMILY TRUST      The William J. & Seemah W. Idelson
3221 N SAN SEBASTIAN DRIVE         7771 HERON COURT                  Family Trust Dated April 29, 1997
TUSCON, AZ 85715                   GOLETA, CA 93117                  710 Brooktree Road
                                                                     Pacific Palisades, CA 90272



ANNALOUISE JAEGER & KEITH          ED WETHERBEE                      LOUIS WHARTON
VERWOEST                           7269 SIENA WAY                    15260 VENTURA BLVD
532 PAUMAKUA PL                    BOULDER, CO 80301                 20TH FLOOR
KAILUS, HI 96734                                                     SHERMAN OAKS, CA 91403



Kim Woodworth & Bill Woodworth     JOE WORDEN                        JAMES R YOUNG
101 Valley Hill Rd                 4335 FOX CIRCLE                   2009 RIVERVIEW DR
Exton, PA 19401                    MESA, AZ 85205                    BERTHOUD, CO 80513
